     Case 16-41005-elm13 Doc 32 Filed 06/07/16                          Entered 06/07/16 11:10:38           Page 1 of 15
                                        UNITED STATES BANKRUPTCY COURT
                                           NORTHERN DISTRICT OF TEXAS
                                              FORT WORTH DIVISION

IN RE:                                                              Case No:       16-41005-RFN-13
James Lee Bradberry, xxx-xx-7703                                    DATED:         6/7/2016
Tiffany Hare Bradberry, xxx-xx-3194                                 Chapter:       13
6408 Marlette Ct                                                    EIN:
North Richland Hills, TX 76180
Attorney Phone No:     (817) 265-0123                               Judge:         Russell F. Nelms



                                                       AMENDED 6/7/2016
                               DEBTOR'S(S') CHAPTER 13 PLAN AND MOTION FOR VALUATION
                                                      SECTION I
                                 DEBTOR'S(S') CHAPTER 13 PLAN - SPECIFIC PROVISIONS
                                               FORM REVISED 11-4-2012
This Plan contains non-standard provisions in Section IV (last page):        yes       no

A.   DEBTOR PAYMENTS           DEBTOR(S) PROPOSES TO PAY TO THE TRUSTEE THE SUM OF:
                               MONTHS 1 TO 1                    $1,500.00 PER MONTH
                               MONTHS 2 TO 2                    $2,900.00 PER MONTH
                               MONTHS 3 TO 60                   $2,150.00 PER MONTH

                               FOR A TOTAL OF        $129,100.00        ("BASE AMOUNT").                .
                               FIRST PAYMENT IS DUE           4/6/2016        .
                               THE ESTIMATED UNSECURED CREDITORS POOL IS
                                    $0.00          calculated as:      $0.00        (Disposable
                               income per § 1325(b)(2)) x      36 months      (Applicable
                               Commitment Period per § 1325(b)(4)), but not less than
                               Debtor's equity in non-exempt property:     $8,635.00
                               pursuant to § 1325(a)(4).

B.   ADMINISTRATIVE AND DSO CLAIMS:
     1.   CLERK'S FILING FEE: Total filing fees paid through the plan, if any, are          $0.00       and shall be paid in full
          prior to disbursements to any other creditor.

     2.   TRUSTEE FEES AND NOTICING FEES: Trustee fees and any noticing fees shall be paid first out of each disbursement
          and as provided in General Order 2010-01.
     3.   DOMESTIC SUPPORT OBLIGATIONS: Prior to discharge, Debtor will pay all post-petition Domestic Support Obligations
          (as defined in § 101(14A)) directly to the holder(s) of such obligation(s), unless payment through the Plan as hereinafter
          provided is agreed to in writing by the respective holder(s) of the claim(s) or their agent(s). Pre-petition Domestic
          Support Obligations per Schedule "E" shall be paid the following monthly payments:

                    DSO CLAIMANT(S)                          SCHEDULED AMOUNT(S)              TERM (APPROXIMATE)          TREATMENT

C.   ATTORNEY FEES: TO             Lee Law Firm, PLLC           , TOTAL:  $3,500.00   ;
         $595.00    PRE-PETITION;     $2,905.00    THROUGH TRUSTEE. PRE-CONFIRMATION PAYMENTS TO
     DEBTOR'S ATTORNEY WILL BE PER THE AUTHORIZATION FOR ADEQUATE PROTECTION DISBURSEMENTS. POST-
     CONFIRMATION PAYMENTS TO DEBTOR'S ATTORNEY WILL BE MADE FROM FUNDS REMAINING AFTER PAYMENT
     OF ADMINISTRATIVE AND DSO CLAIMS AS PROVIDED ABOVE ('B') AND EACH SPECIFIED MONTHLY PLAN PAYMENT
     TO SECURED CREDITORS ('D' AND/OR 'E' BELOW) BEFORE ANY PAYMENT TO PRIORITY CREDITORS ('H' BELOW)
     OR UNSECURED CREDITORS ('I' AND 'J' BELOW).

D.   HOME MORTGAGE ARREARAGE:

                MORTGAGEE                         SCHED.             DATE               %      TERM (APPROXIMATE)         TREATMENT
                                                 ARR. AMT       ARR. THROUGH
     Case 16-41005-elm13 Doc 32 Filed 06/07/16                       Entered 06/07/16 11:10:38            Page 2 of 15
Case No:     16-41005-RFN-13
Debtor(s):   James Lee Bradberry
             Tiffany Hare Bradberry

If pursuant to this Plan, the Debtor pays through the Trustee the Allowed pre-petition Home Mortgage Arrearage Claim Amount to
any Mortgagee identified in paragraph "D" or its assignee(s), while timely making all required post-petition mortgage payments,
upon discharge, the mortgage will be reinstated according to its original terms, extinguishing any right of the Mortgagee or its
assignee(s) to recover any amount alleged to have arisen prior to the filing of the petition.

E.(1) SECURED CREDITORS--PAID BY THE TRUSTEE

                 CREDITOR /                  SCHED. AMT.           VALUE             %       TERM (APPROXIMATE)         TREATMENT
                COLLATERAL
Ditech Financial                                 $47,785.00       $135,600.00      3.75%         Month(s) 2-56                Pro-Rata
6408 Marlette Ct
Northstar Bank                                    $8,607.60          $8,500.00     4.25%         Month(s) 1-1                      $449.77
2013 Cimmaron Lonestar Trailer                                                     4.25%         Month(s) 2-18                     $494.46
                                                                                   4.25%         Month(s) 56-56                     $54.09
Northstar Bank                                   $10,839.34        $40,000.00      4.25%         Month(s) 1-1                      $840.69
2015 Chevy Suburban                                                                4.25%         Month(s) 2-12                     $924.21
                                                                                   4.25%         Month(s) 56-56                    $101.42

E.(2)(a) SECURED 1325(a)(9) CLAIMS PAID BY THE TRUSTEE--NO CRAM DOWN:

                 CREDITOR /                  SCHED. AMT.           VALUE             %       TERM (APPROXIMATE)         TREATMENT
                COLLATERAL
CRB Auto                                         $27,671.36        $25,000.00      4.25%         Month(s) 2-56                Pro-Rata
2008 Ford F450

E.(2)(b) SECURED 1325(a)(9) CLAIMS PAID BY THE TRUSTEE--CRAM DOWN:

                 CREDITOR /                  SCHED. AMT.           VALUE             %       TERM (APPROXIMATE)         TREATMENT
                COLLATERAL

TO THE EXTENT THE VALUE AMOUNT IN E.(2)(b) IS LESS THAN THE SCHEDULED AMOUNT IN E.(2)(b), THE CREDITOR
SHALL HAVE THE OPTION OF REQUIRING THE DEBTOR TO SURRENDER THE COLLATERAL BY OBJECTING TO THE
PROPOSED TREATMENT.

IN THE EVENT THAT A CREDITOR OBJECTS TO THE TREATMENT PROPOSED IN PARAGRAPH E.(2)(b) THE DEBTOR RETAINS
THE RIGHT TO SURRENDER THE COLLATERAL TO THE CREDITOR IN SATISFACTION OF THE CREDITOR'S CLAIM. IF THE
DEBTOR ELECTS TO SURRENDER THE COLLATERAL, THEN THE AUTOMATIC STAY WILL BE TERMINATED AS TO SUCH
COLLATERAL UPON ENTRY OF THE ORDER CONFIRMING THE PLAN, UNLESS OTHERWISE ORDERED BY THE COURT.

ABSENT SUCH OBJECTION, THE CREDITOR(S) LISTED IN "E.(2)(b)" SHALL BE DEEMED TO HAVE "ACCEPTED" THE PLAN PER
SECTION 1325(a)(5)(A) OF THE BANKRUPTCY CODE AND WAIVED THEIR RIGHTS UNDER SECTION 1325(a)(5)(B) AND (C) OF
THE BANKRUPTCY CODE.

THE VALUATION OF COLLATERAL AND INTEREST RATE TO BE PAID ON THE ABOVE SCHEDULED CLAIMS IN E(1) AND
E(2)(a) AND (b) WILL BE FINALLY DETERMINED AT CONFIRMATION. THE CLAIM AMOUNT WILL BE DETERMINED
BASED ON A TIMELY FILED PROOF OF CLAIM AND THE TRUSTEE'S RECOMMENDATION CONCERNING CLAIMS
("TRCC".)

EXCEPT FOR "VALUATION" AND "INTEREST RATE," CONFIRMATION HEREOF SHALL BE WITHOUT PREJUDICE TO THE
DEBTOR'S, THE TRUSTEE'S, OR ANY SECURED CREDITOR'S RIGHT TO A LATER DETERMINATION OF THE ALLOWED
AMOUNT OF ANY CREDITOR'S SECURED CLAIM. TO THE EXTENT SUCH CLAIM IS ALLOWED FOR AN AMOUNT
GREATER OR LESSER THAN THE "SCHEDULED AMOUNT" PROVIDED FOR ABOVE, AFTER THE TRCC IS FINAL,
DEBTOR WILL MODIFY THE PLAN TO FULLY PROVIDE FOR SUCH ALLOWED SECURED CLAIM.




                                                               -2-
     Case 16-41005-elm13 Doc 32 Filed 06/07/16                           Entered 06/07/16 11:10:38              Page 3 of 15
Case No:     16-41005-RFN-13
Debtor(s):   James Lee Bradberry
             Tiffany Hare Bradberry

F.   SECURED CREDITORS--COLLATERAL TO BE SURRENDERED:

                            CREDITOR /                                   SCHED. AMT.           VALUE                  TREATMENT
                           COLLATERAL

The Automatic Stay will terminate as to Collateral listed in this paragraph F. upon filing hereof but nothing in this Plan shall be
deemed to abrogate any applicable non-bankruptcy law contract rights of the Debtor(s).

G. SECURED CREDITORS--PAID DIRECT BY DEBTOR

                            CREDITOR /                                   SCHED. AMT.           VALUE                  TREATMENT
                           COLLATERAL
Melba Griffin                                                               $38,000.00         $45,310.00
185 Brighton Oaks
Northstar Bank                                                              $50,047.98         $40,000.00
2015 Chevy Suburban
Tarrant County                                                               $3,498.91       $135,600.00
homestead
Wise CAD                                                                         $552.78     $135,600.00
Homestead
Wise County                                                                      $197.12     $135,600.00
homestead

H.   PRIORITY CREDITORS OTHER THAN DOMESTIC SUPPORT OBLIGATIONS:

                                CREDITOR                                         SCHED. AMT.    TERM (APPROXIMATE)            TREATMENT

I.   SPECIAL CLASS:

                               CREDITOR /                                        SCHED. AMT.    TERM (APPROXIMATE)            TREATMENT
                              JUSTIFICATION

J.   UNSECURED CREDITORS

                        CREDITOR                              SCHED. AMT.                                COMMENT
ADT Security Services                                                $356.00
Allied Interstate                                                        $0.00
ARC Management Group                                                     $0.00
Baylor Medical Center                                                $797.00
Baylor Medical Center                                                $996.00
Blue Book Advertising                                             $12,035.00
Capital One Bank                                                   $1,432.00
Capital One Bank                                                     $782.00
Capital One Bank                                                   $2,495.00
CBE Group                                                            $126.00
City of Hurst                                                        $910.00
Comenity Bank/Vctrssec                                               $883.00
Consultants Radiology                                                $621.00
Cook Childrens                                                       $464.00
Cooks Childrens Northeast Hospital                                   $591.00
Credit One Bank                                                      $551.00
Credit Systems International                                         $536.00
Direct TV                                                            $146.00

                                                                   -3-
      Case 16-41005-elm13 Doc 32 Filed 06/07/16        Entered 06/07/16 11:10:38   Page 4 of 15
Case No:     16-41005-RFN-13
Debtor(s):   James Lee Bradberry
             Tiffany Hare Bradberry

Discover                                          $2,253.26
DRS                                                    $0.00
Enhanced Recovery Company, LLC                         $0.00
Fort Worth Surgery Center                          $748.00
Grapevine Emergency Physicia                       $147.00
Harris & Harris LTD                                    $0.00
Health Texas Provider Network                      $736.00
Home Depot                                        $1,131.00
Home Depot                                         $476.00
Infusystems                                        $113.00
Kohl's                                             $442.00
Money Mailer                                      $6,800.00
MSB                                                 $32.44
North Country Family Practice                      $137.00
Northstar Anesthesia                               $821.00
NTTA                                                $36.00
Overhead Door                                     $4,485.00
Pikepass                                               $0.00
Premier Rehab                                       $25.00
Radiology Associates of North Texas                $117.00
Service Lloyds                                     $512.00
Southwest Automated Security                      $6,738.00
Southwestern Rolling Steel                        $1,322.15
Sunstate Rental                                   $1,258.00
SYNCB/CARE CREDIT                                 $2,175.00
SYNCB/Sams Club                                    $494.00
TEX Door                                          $9,745.00
Town Planner                                      $1,800.00
Txtag                                               $20.00
Txtag                                               $36.00
Txtag                                               $47.00
Union Standard                                    $4,229.00
US Bank                                           $3,420.00
WB Carrell Memorial Clinic                         $100.00
WF Crd Svc                                        $9,077.00
TOTAL SCHEDULED UNSECURED:                       $83,193.85
UNSECURED CREDITORS ARE NOT GUARANTEED A DIVIDEND WHEN A PLAN IS CONFIRMED, SEE GENERAL ORDER
2010-01. ALLOWED GENERAL UNSECURED CLAIMS MAY RECEIVE A PRO-RATA SHARE OF THE UNSECURED
CREDITORS' POOL, BUT NOT LESS THAN THE SECTION 1325(a)(4) AMOUNT SHOWN IN SECTION I "A" ABOVE LESS
ALLOWED ADMINISTRATIVE AND PRIORITY CLAIMS, AFTER THE TRCC BECOMES FINAL. A PROOF OF CLAIM MUST BE
TIMELY FILED TO BE ALLOWED.

K.   EXECUTORY CONTRACTS AND UNEXPIRED LEASES:

                   § 365 PARTY         ASSUME/REJECT      CURE AMOUNT   TERM (APPROXIMATE)   TREATMENT




                                                 -4-
     Case 16-41005-elm13 Doc 32 Filed 06/07/16           Entered 06/07/16 11:10:38   Page 5 of 15
Case No:     16-41005-RFN-13
Debtor(s):   James Lee Bradberry
             Tiffany Hare Bradberry

L.   CLAIMS TO BE PAID:

'TERM (APPROXIMATE)' SHOWN HEREIN GIVES THE ESTIMATED NUMBER OF MONTHS FROM THE PETITION DATE REQUIRED
TO FULLY PAY THE ALLOWED CLAIM. IF ADEQUATE PROTECTION PAYMENTS HAVE BEEN AUTHORIZED AND MADE, THEY
WILL BE APPLIED TO PRINCIPAL AS TO UNDER-SECURED CLAIMS AND ALLOCATED BETWEEN INTEREST AND PRINCIPAL
AS TO OVER-SECURED CLAIMS. PAYMENT PURSUANT TO THIS PLAN WILL ONLY BE MADE TO SECURED,
ADMINISTRATIVE, PRIORITY AND UNSECURED CLAIMS THAT HAVE BEEN ALLOWED OR THAT THE DEBTOR HAS
AUTHORIZED IN AN ADEQUATE PROTECTION AUTHORIZATION. GENERAL UNSECURED CLAIMS WILL NOT RECEIVE ANY
PAYMENT UNTIL AFTER THE TRCC BECOMES FINAL.

THE "SCHED. AMT." SHOWN IN THIS PLAN SHALL NOT DETERMINE THE "ALLOWED AMOUNT" OF ANY CLAIM.


M. ADDITIONAL PLAN PROVISIONS:

SEE SECTION IV ON LAST PAGE FOR ADDITIONAL PLAN PROVISIONS, IF ANY.




                                                   -5-
        Case 16-41005-elm13 Doc 32 Filed 06/07/16                       Entered 06/07/16 11:10:38              Page 6 of 15
Case No:     16-41005-RFN-13
Debtor(s):   James Lee Bradberry
             Tiffany Hare Bradberry

                                                       SECTION II
                                   DEBTOR'S(S') CHAPTER 13 PLAN--GENERAL PROVISIONS
                                                 FORM REVISED 11-4-2012

A.   SUBMISSION OF DISPOSABLE INCOME

Debtor(s) hereby submits such portion of future earnings or other future income as herein provided to the supervision and
control of the Trustee as necessary for the execution of the Plan as herein provided.

Debtor proposes to PAY TO THE TRUSTEE the Base Amount indicated in Section I, Part "A" hereof. If applicable, cause exists
for payment over a period of more than three (3) years.

If the Plan does not pay 100% to all creditors, the Base Amount shall not be less than the sum of the allowed administrative
expenses plus the allowed priority and secured claims (with interest if applicable) plus the greater of the unsecured creditors'
pool, or the 11 USC 1325(a)(4) amount (Best Interest Test).
Payment of any claim against the Debtor may be made from the property of the estate or property of the Debtor(s), as herein
provided.

B.   ADMINISTRATIVE EXPENSES, DSO CLAIMS & PAYMENT OF TRUSTEE'S STATUTORY FEES AND NOTICING FEES
The Administrative Expenses of the Trustee shall be paid in full pursuant to 11 U.S.C. Sec 105(a), 503(b), 1326(b)(2), and 28
U.S.C. Sec 586(e)(1)(B). The Trustee's Fees & Expenses, not to exceed ten percent (10%) allowed pursuant to 28 U.S.C. Sec
586(e)(1)(B), shall be deducted from each payment. Additionally, the Trustee is authorized to charge and collect Noticing Fees
as indicated in Section I, Part "B" hereof, pursuant to local rule. No Trustee fee will be collected on Noticing Fees.

Debtor will pay in full all Domestic Support Obligations that are due before discharge, including section 507(a)(1) Priority claims
due before the petition was filed, but only to the extent provided for in this Plan.

C.   ATTORNEY FEES
Debtor's(s') Attorney Fees totaling the amount indicated in Section I Part "C", shall be paid by the Trustee in the amount shown
as "through Trustee", pursuant to this Plan and the Debtor's(s') Authorization for Adequate Protection Disbursements.

D.   PRINCIPAL RESIDENCE ARREARAGES (HOME MORTGAGE)

Arrearage on claims secured only by a security interest in the Debtor's(s') principal residence shall be paid by the Trustee in the
allowed pre-petition arrearage amount, and at the Annual Percentage rate of interest indicated in Section I, Part "D" herein. To
the extent interest is provided, interest will be calculated from the date of the Petition. The principal balance owing upon
confirmation of the Plan on the allowed pre-petition arrearage amount shall be reduced by the total of adequate protection paid
less any interest (if applicable) made to the respective creditor by the Trustee. Unless otherwise provided, post-petition
payments may be paid "Direct" by Debtor(s), beginning with the first payment due after the 'ARR. THROUGH' date in Section I,
Part "D". Such creditors shall retain their liens. To the extent an arrearage claim is allowed in an amount in excess of the
Sched. Arr. Amt., the Debtor will promptly Modify the Plan to provide for full payment of the allowed amount, or for surrender of the
collateral, at Debtor's election. If Debtor elects to surrender the collateral, the creditor may retain all pre-surrender payments
received pursuant hereto.

If pursuant to this Plan, the Debtor pays through the Trustee the Allowed pre-petition Home Mortgage Arrearage Claim Amount to
any Mortgagee identified in paragraph "D" or its assignee(s), while timely making all required post-petition mortgage payments,
upon discharge, the mortgage will thereupon be reinstated according to its original terms, extinguishing any right of the
Mortgagee or its assignee(s) to recover any amount alleged to have arisen prior to the filing of the petition.

E.(1)    SECURED CLAIMS TO BE PAID BY TRUSTEE

The claims listed in Section I, Part "E(1)" shall be paid by the Trustee as "SECURED" to the extent of the lesser of the Claim
Amount (per timely filed Proof of Claim not objected to by a party in interest), or the VALUE as shown of the collateral, which will
be retained by the Debtor(s). Any amount claimed in excess of the value shall automatically be "split" and treated as unsecured
as indicated in Section I, Part "H" or "J", per 11 U.S.C. Sec. 506(a). Such creditors shall retain their liens on the collateral
described in Section I, Part "E(1)" until the earlier of the payment of the underlying debt determined under non-bankruptcy law or
discharge under Section 1328, and shall receive interest at the Annual Percentage Rate indicated from the date of confirmation
hereof, or if the value shown is greater than the Claim Amount, from the date of the Petition, up to the amount by which the claim
is over-secured. The principal balance owing upon confirmation of the Plan on the allowed secured claim shall be reduced by
the total of adequate protection paid less any interest (if applicable) paid to the respective creditor by the Trustee.




                                                                  -6-
     Case 16-41005-elm13 Doc 32 Filed 06/07/16                           Entered 06/07/16 11:10:38               Page 7 of 15
Case No:     16-41005-RFN-13
Debtor(s):   James Lee Bradberry
             Tiffany Hare Bradberry

E.(2)(a) SECURED SECTION 1325(a)(9) CLAIMS TO BE PAID BY THE TRUSTEE--NO CRAM DOWN
Claims in Section I, Part "E(2)(a)" are either debts incurred within 910 days of the Petition date secured by a purchase money
security interest in a motor vehicle acquired for the personal use of the debtor or debts incurred within one year of the petition
date secured by any other thing of value.

The claims listed in Section I, Part "E(2)(a)" shall be paid by the Trustee as "SECURED" to the extent of the "ALLOWED
AMOUNT" (per timely filed Proof of Claim not objected to by a party in interest.) Such creditors shall retain their liens on the
collateral described in Section I, Part "E(2)(a)" until the earlier of the payment of the underlying debt determined under non-
bankruptcy law or discharge under Section 1328, and shall receive interest at the Annual Percentage Rate indicated from the
date of the Petition. The principal balance owing upon confirmation of the Plan on the allowed secured claim shall be reduced
by the total of adequate protection paid less any interest (if applicable) paid to the respective creditor by the Trustee.

E.(2)(b) SECURED SECTION 1325(a)(9) CLAIMS TO BE PAID BY THE TRUSTEE--CRAM DOWN

The claims listed in Section I, Part "E(2)(b)" shall be paid by the Trustee as "SECURED" to the extent of the LESSER OF the
Claim Amount (per timely filed Proof of Claim not objected to by a party in interest), or the VALUE as shown of the collateral,
which will be retained by the Debtor(s). Any amount claimed in excess of the value shall automatically be "split" and treated as
unsecured as indicated in Section I, Part "H" or "J", per 11 U.S.C. Sec. 506(a). Such creditors shall retain their liens on the
collateral described in Section I, Part "E(2)(b)" until the earlier of the payment of the underlying debt determined under non-
bankruptcy law or discharge under Section 1328, and shall receive interest at the Annual Percentage Rate indicated from the
date of confirmation hereof, or if the value shown is greater than the Claim Amount, from the date of the Petition, up to the
amount by which the claim is over-secured.

IF THE "VALUE" SHOWN IN "E(2)(b)" ABOVE IS LESS THAN THE "SCHED. AMT." SHOWN, THE "ALLOWED AMOUNT" OF
THE SECURED PORTION OF THE CLAIM SHALL NOT EXCEED THE "VALUE" DETERMINED AT CONFIRMATION.

IN THE EVENT THAT A CREDITOR OBJECTS TO THE TREATMENT PROPOSED IN THIS PARAGRAPH, THE DEBTOR RETAINS
THE RIGHT TO SURRENDER THE COLLATERAL TO THE CREDITOR IN SATISFACTION OF THE CREDITOR'S CLAIM. IF THE
DEBTOR ELECTS TO SURRENDER THE COLLATERAL, THEN THE AUTOMATIC STAY WILL BE TERMINATED AS TO SUCH
COLLATERAL UPON ENTRY OF THE ORDER CONFIRMING THE PLAN, UNLESS OTHERWISE ORDERED BY THE COURT.

ABSENT SUCH OBJECTION, THE CREDITOR LISTED IN "E.(2)(b)" SHALL BE DEEMED TO HAVE "ACCEPTED" THE PLAN PER
SECTION 1325(a)(5)(A) OF THE BANKRUPTCY CODE AND WAIVED ITS RIGHTS UNDER SECTION 1325(a)(5)(B) AND (C) OF
THE BANKRUPTCY CODE.

To the extent a secured claim NOT provided for in Section I Part "D", "E(1)" or "E(2)" is allowed by the Court, Debtor(s) will pay the
claim 'DIRECT' per the contract.

Each secured claim shall constitute a separate class.

F.   SATISFACTION OF CLAIM BY SURRENDER OF COLLATERAL
The claims listed in Section I, Part "F" shall be satisfied as 'SECURED' to the extent of the VALUE of the collateral, as shown, by
SURRENDER of the collateral by the Debtor(s) on or before Confirmation. Any amount claimed in excess of the value of the
collateral as shown, to the extent it is allowed, shall be automatically "split" and treated as indicated in Section I, Part "H" or "J"
per 11 U.S.C. Sec 506(a).

Each secured claim shall constitute a separate class.

G. DIRECT PAYMENTS BY DEBTOR(S)
All secured claims listed in Section I, Part "G" shall be paid 'DIRECT' by the Debtor(s) in accordance with the terms of their
agreement, unless otherwise provided in Section IV.

Each secured claim shall constitute a separate class.




                                                                   -7-
     Case 16-41005-elm13 Doc 32 Filed 06/07/16                              Entered 06/07/16 11:10:38                Page 8 of 15
Case No:     16-41005-RFN-13
Debtor(s):   James Lee Bradberry
             Tiffany Hare Bradberry

H.   PRIORITY CLAIMS OTHER THAN DOMESTIC SUPPORT OBLIGATIONS
All allowed claims (i.e., those for which a Proof of Claim is timely filed and not objected to by a party in interest) entitled to priority
under Section 507(a) of the Bankruptcy Code, other than Section 507(a)(1) Domestic Support Obligations, will be paid in full
(except as provided in Section 1322(a)(4)) in deferred installments, unless the holder of such claim agrees to a different
treatment of such claim. Failure to object to confirmation of this Plan shall not be deemed "acceptance" of the "SCHED AMT."
shown in Section I Part "H" hereof. The claims listed in Section I, Part "H" shall be paid their allowed amount by the Trustee in
full as Priority without interest at the monthly amount indicated or pro rata.

Priority claims for taxes are unsecured and shall not accrue interest or penalty subsequent to the filing, and such interest or
penalty as might otherwise accrue thereafter shall be discharged upon completion of the Plan.

I.   CLASSIFIED UNSECURED CLAIMS

Classified unsecured claims shall be treated as allowed by the Court.
J.   GENERAL UNSECURED CLAIMS TIMELY FILED

All other claims not otherwise provided for herein shall be designated general unsecured claims. Payments, if any, to general
unsecured claims will be on a pro rata basis. All allowed general unsecured claims shall be paid in an amount under the Plan
which is not less than the amount that would be paid on such claims if the estate of the Debtor(s) were liquidated under
Chapter 7 of the Bankruptcy Code on the date of filing of the Petition herein.

Any delinquencies under the Plan on allowed secured claims, allowed priority claims and allowed classified unsecured claims
must be brought current before any payments are made on general unsecured claims.

General unsecured claims may be paid concurrently with secured, priority and classified unsecured claims so long as each
secured, priority, and classified unsecured creditor is receiving not less than its monthly installment as provided herein. If the
indicated monthly amount is insufficient to fully pay the monthly payment provided for such allowed secured, priority or classified
unsecured claim(s) respectively, the Trustee shall pay in the following order: each classification of such allowed secured
claim(s), priority claim(s) and classified unsecured claim(s) pro rata until all such payments within each subclass are current,
prior to any other payments to allowed general unsecured claims.

General unsecured claims totaling the amount indicated in Section I Part "J", shall be paid by the Trustee, a PRO RATA share of
the unsecured creditors' pool estimated in Section I, Part "A" but not less than the amount indicated pursuant to
Section 1325(a)(4) less allowed administrative and priority claims, or the estimated % (if any) shown above.

K.   EXECUTORY CONTRACTS AND UNEXPIRED LEASES

As provided in Section 1322(b)(7) of the Bankruptcy Code, the Debtor(s) assumes or rejects the executory contracts or unexpired
leases with the parties so indicated in Section I, Part "K".

Assumed lease and executory contract arrearage amounts shall be paid by the Trustee as indicated in Section I Part "K".

L.   CLAIMS TO BE PAID

See Section I, Part "L" of the Plan.

M. ADDITIONAL PLAN PROVISIONS
The provisions set forth in Section IV are additional Plan provisions not otherwise referred to herein.

N.   POST-PETITION CLAIMS

Claims filed under Section 1305 of the Bankruptcy Code shall be paid as allowed. To the extent necessary, Debtor will modify
this Plan.

O. LATE FILED CLAIMS AND CLAIMS NOT FILED
Late filed unsecured claims on pre-petition debt shall be paid pro rata, only after all other timely filed unsecured claims are paid
in full. Such payment shall be before any payment on pre-petition non-pecuniary penalties. Late filed claims on priority pre-
petition claims shall be paid in full before any payment on late filed general unsecured pre-petition claims. Late filed secured
claims shall be paid in full before any payment on late filed priority claims.

A claim not filed with the Court will not be paid by the Trustee post-confirmation regardless of its treatment in Section I or on the
AAPD.


                                                                      -8-
     Case 16-41005-elm13 Doc 32 Filed 06/07/16                           Entered 06/07/16 11:10:38              Page 9 of 15
Case No:       16-41005-RFN-13
Debtor(s):     James Lee Bradberry
               Tiffany Hare Bradberry

P.   CLAIMS FOR PRE-PETITION NON-PECUNIARY PENALTIES, FINES, FORFEITURES, MULTIPLE, EXEMPLARY OR PUNITIVE
     DAMAGES

Any unsecured claim for non-pecuniary penalty, fines, forfeitures, multiple, exemplary or punitive damages, expressly including
IRS penalty to date of petition on unsecured and/or priority claims, shall be paid only a pro rata share of any funds remaining
after all other unsecured claims including late filed claims, shall have been paid in full.

Q. CLAIMS FOR POST-PETITION PENALTIES AND INTEREST

No interest, penalty, or additional charge shall be allowed on any pre-petition claims subsequent to the filing of the petition,
unless expressly provided herein.

R.   BUSINESS CASE OPERATING REPORTS
Upon confirmation, business debtors are no longer required to file operating reports with the Trustee, unless the Trustee
requests otherwise. However, a final operating report through the date of confirmation is required if operating reports were
previously required. Confirmation hereof shall terminate the Trustee's duties to investigate or monitor the debtor's business
affairs, assets or liabilities.

S.   NO TRUSTEE'S LIABILITY FOR DEBTOR'S POST CONFIRMATION OPERATION AND BAR DATE FOR CLAIMS FOR
     PRECONFIRMATION OPERATIONS

The Trustee shall not be liable for any claim arising from the post-confirmation operation of Debtor's business. Any claims
against the Trustee arising from the pre-confirmation operation of the Debtor's business must be filed with the Bankruptcy Court
within sixty (60) days after entry by the Bankruptcy Court of the Order of Confirmation hereof, or be barred.

T.   DISPOSAL OF DEBTOR'S NON-EXEMPT PROPERTY AND TRUSTEE PAYMENTS UPON POST CONFIRMATION
     CONVERSION OR DISMISSAL

Debtor shall not dispose of or encumber any non-exempt property or release or settle any lawsuit or claim by Debtor(s), prior to
discharge, without consent of the Trustee or order of the Court after notice to the Trustee and all creditors.

Upon conversion or dismissal of the case post confirmation, the Trustee shall disburse all funds on hand in accordance with
this Plan.

U.   ORDER OF PAYMENT

All claims shown in Section I, will be paid in the following order from each disbursement, to the extent allowed:
     1st --    Administrative Fees and DSO claims in "B"
     2nd --    Assumed lease and executory contract arrearage claims in "K"
     3rd --    Specified monthly dollar amounts to secured claims in "D", "E(1)", and "E(2)"
     4th --    Pro-rata among attorney fees in "C"
     5th --    Pro-rata among secured claims in "D", "E(1)" and "E(2)"
     6th --    Specified monthly dollar amounts to priority claims in "H"
     7th --    Pro-rata among priority claims in "H"
     8th --    Specified monthly dollar amounts to special class claims in "I"
     9th --    Pro-rata among special class claims in "I"
     10th --   Pro-rata among claims in "J" other than late filed and penalty claims
     11th --   Pro-rata among late filed priority claims in "H"
     12th --   Pro-rata among late filed general unsecured claims in "J"
     13th --   Pro-rata among penalty claims in "J".




                                                                   -9-
     Case 16-41005-elm13 Doc 32 Filed 06/07/16                       Entered 06/07/16 11:10:38              Page 10 of 15
Case No:     16-41005-RFN-13
Debtor(s):   James Lee Bradberry
             Tiffany Hare Bradberry

V.   TRUSTEE'S RECOMMENDATION CONCERNING CLAIMS ("TRCC") PROCEDURE
Pursuant to General Order 2010-01, Paragraph 8, as soon as practicable after the governmental claims bar date, the Trustee
shall prepare and serve on Debtor's counsel, all creditors who were scheduled, all creditors who filed claims and any party that
has filed a Notice of Appearance, a Trustee's Recommendation Concerning Claims ("TRCC") and Notice of Hearing and Pre-
Hearing Conference thereon. The TRCC may be deemed in part to be an Objection to Claims. Objections to the TRCC shall be
filed within thirty (30) days from the date of service of the TRCC. Unless an objection is timely filed as to the treatment of any
claim, the claim will be allowed or approved only as described in the TRCC, and such treatment will be binding on all parties
without further order of the court. All unresolved objections to the TRCC shall be deemed waived if not timely filed or if the
proponent of any such objection fails to attend the Trustee's Pre-Hearing Conference or give the Trustee prior written notice that
a hearing is necessary. To the extent secured and/or priority claims being paid through the Plan by the Trustee are allowed for
amounts in excess of the amounts provided for in this Plan, the Debtor(s) will promptly modify the Plan to provide for full payment
of the allowed amount. After the TRCC becomes final, should the Plan then become infeasible and/or "insufficient", the Trustee
shall be permitted to move the Court to dismiss the case for such reason.


                                                          SECTION III
                                                     MOTION FOR VALUATION
Pursuant to Bankruptcy Rule 3012, for purposes of 11 U.S.C. Sec 506(a) and § 1325(a)(5) and for purposes of determination of
the amounts to be distributed to holders of secured claims who do not accept the Plan, Debtor(s) hereby moves the Court to
value the collateral described in Section I, Part "E" and Part "F", as the LESSER of the value set forth therein, or any value
claimed on the proof of claim. Any objection to valuation shall be filed at least seven (7) days prior to the date of the Trustee's
pre-hearing conference regarding Confirmation, or be deemed waived.




                                                                - 10 -
    Case 16-41005-elm13 Doc 32 Filed 06/07/16             Entered 06/07/16 11:10:38       Page 11 of 15
Case No:     16-41005-RFN-13
Debtor(s):   James Lee Bradberry
             Tiffany Hare Bradberry

                                                 SECTION IV
                                         ADDITIONAL PLAN PROVISIONS
Additional (non-standard) Plan provisions, if any, CAPITALIZED, BOLD AND UNDERSCORED ARE AS FOLLOWS:
None.
Respectfully submitted,                                Case No.: 16-41005-RFN-13

/s/ Christopher Lee
Christopher Lee, Debtor's(s') Attorney

24041319
State Bar Number




                                                      - 11 -
      Case 16-41005-elm13 Doc 32 Filed 06/07/16                   Entered 06/07/16 11:10:38         Page 12 of 15
                                       UNITED STATES BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF TEXAS
                                             FORT WORTH DIVISION

  IN RE: James Lee Bradberry                                                    CASE NO.    16-41005-RFN-13
                                     Debtor


          Tiffany Hare Bradberry                                               CHAPTER      13
                                   Joint Debtor

                                                  CERTIFICATE OF SERVICE


   I, the undersigned, hereby certify that on June 7, 2016, a copy of the attached Chapter 13 Plan, with any attachments,
was served on each party in interest listed below, by placing each copy in an envelope properly addressed, postage fully
prepaid in compliance with Local Rule 9013 (g).



                                 /s/ Christopher Lee
                                 Christopher Lee
                                 Bar ID:24041319
                                 Lee Law Firm, PLLC
                                 8701 Bedford Euless Rd., Suite 510
                                 Hurst, TX 76053
                                 (817) 265-0123




ADT Security Services                         Baylor Medical Center                     Capital One Bank
P.O. Box 650485                               P.O. Box 844597                           5178-0580-8068-7992
Dallas, Texas 75265                           Dallas, TX 75284-4597                     Po Box 60599
                                                                                        City of Industry, CA 91716



Allied Interstate                             Blue Book Advertising                     CBE Group
P.O. Box 361774                               800 East Main Street                      1309 Technology Blvd
Columbus, OH 43236-1714                       Yorktown, NY 10535                        Cedar Falls, IA 50613




ARC Management Group                          Capital One Bank                          City of Hurst
1825 Barrett Lake Blvd Ste 505                4802-1378-6799-0337                       15-135780
Kennesaw, GA 57117                            Po Box 60599                              P.O. Box 269110
                                              City of Industry, CA 91716                Sacramento, CA 95826



Attorney General of Texas                     Capital One Bank                          Comenity Bank/Vctrssec
Collections Div Bankruptcy Sec                4802-1381-8192-2410                       5856375115695934
PO Box 12548                                  Po Box 60599                              P.O. Box 182789
Austin, TX 78711-2548                         City of Industry, CA 91716                Columbus, OH 43218
      Case 16-41005-elm13 Doc 32 Filed 06/07/16                    Entered 06/07/16 11:10:38     Page 13 of 15
                                       UNITED STATES BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF TEXAS
                                             FORT WORTH DIVISION

  IN RE: James Lee Bradberry                                                   CASE NO.   16-41005-RFN-13
                                     Debtor


          Tiffany Hare Bradberry                                               CHAPTER    13
                                   Joint Debtor

                                                  CERTIFICATE OF SERVICE
                                                     (Continuation Sheet #1)

Consultants Radiology                         Discover                               Health Texas Provider Network
1845 Precinct Line #209                       6120                                   979795
Hurst, TX 76054                               P.O. Box 29033                         PO Box 844128
                                              Phoenix, AZ 85038-9033                 Dallas, TX 75284



Cook Childrens                                Ditech Financial                       Home Depot
48374                                         490330180                              6035320392761183
Po Box 740847                                 332 Minnesota St Ste 610               P.O. Box 78011
Dallas, TX 75374                              Saint Paul, MN 55101                   Phoenix, AZ 85062



Cooks Childrens Northeast Hospital            DRS                                    Home Depot
N000003474782                                 P.O. Box 460036                        6035320852425774
6316 Precinct Line Road                       Garland, TX 75046                      P.O. Box 78011
Hurst, TX 76054                                                                      Phoenix, AZ 85062



CRB Auto                                      Enhanced Recovery Company, LLC         Infusystems
21794631001                                   8014 Bayberry Rd.                      507242
P.O. Box 98541                                Jacksonville, FL 32256-7412            P.O. Box 204467
Las Vegas, NV 89193                                                                  Dallas, TX 75320



Credit One Bank                               Fort Worth Surgery Center              Internal Revenue Service
4447-9621-8772-8732                           2001 W Rosedale                        Department of the Treasury
P.O. Box 60500                                Fort Worth, TX 76104                   PO Box 7346
City of Industry, CA 91716                                                           Philadelphia, PA 19101-7



Credit Systems International                  Grapevine Emergency Physicia           James Lee Bradberry
1277 Country Club Lane                        VNE38090817                            6408 Marlette Ct
Ft. Worth, TX 76112                           P.O. Box 41587                         North Richland Hills, TX 76180
                                              Philadelphia, PA 19101-1587



Direct TV                                     Harris & Harris LTD                    Kohl's
P.O. Box 92600                                111 W. Jackson Blvd. S-400             0496302118
Los Angeles, CA 90009                         Chicago, IL 60604                      P.O Box 30510
                                                                                     Los Angeles, CA 90030
      Case 16-41005-elm13 Doc 32 Filed 06/07/16                    Entered 06/07/16 11:10:38     Page 14 of 15
                                       UNITED STATES BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF TEXAS
                                             FORT WORTH DIVISION

  IN RE: James Lee Bradberry                                                   CASE NO.   16-41005-RFN-13
                                     Debtor


          Tiffany Hare Bradberry                                               CHAPTER    13
                                   Joint Debtor

                                                  CERTIFICATE OF SERVICE
                                                     (Continuation Sheet #2)

Linebarger Goggan Blair & Sampson,            Northstar Bank                         Service Lloyds
LLP                                           513590                                 srzg24105-15
2323 Bryan Ste 1600                           400 N. Carrol Blvd                     6907 N Capital of TX Hwy
Dallas, Texas 75201                           Denton, TX 76201                       Austin, TX 78731



Melba Griffin                                 NTTA                                   Southwest Automated Security
Bradberry02                                   788855587                              2634 Gravel Dr Bldg 7
P.O. Box 821263                               PO Box 660244                          Fort Worth, TX 76118
N Richland Hills, TX 76182                    Dallas, TX 75266



Money Mailer                                  Overhead Door                          Southwestern Rolling Steel
210 Grapevine Hwy                             P.O. Box 676576                        9525 Whtie Rock Trail
Hurst, TX 76054                               Dallas, TX 75267-6576                  Dallas, TX 75238




MSB                                           Pam Bassel                             STATE COMPTROLLER OF PUBLIC
EOI861                                        7001 Blvd. 26, Suite 150               ACCOUNTS
Po Box 16733                                  North Richland Hills, TX 76180         REVENUE ACCOUNTING DIVISION
Austin, TX 78761-6733                                                                P.O. BOX 13528
                                                                                     AUSTIN, TEXAS 78711


North Country Family Practice                 Pikepass                               Sunstate Rental
122968                                        2014377583                             114605
1050 East Hwy 114, Ste 100                    4401 W Memorial Rd, Ste 130            8000 South Frwy
Southlake, TX 76092                           Oklahoma City, OK 73134                Fort Worth, TX 76134



Northstar Anesthesia                          Premier Rehab                          SYNCB/CARE CREDIT
FW54264                                       4120 Heritage Trace Pkwy, Ste 220      6019183408550358
PO Box 650252                                 Fort Worth, TX 76244                   PO BOX 965036
Dallas, TX 75265                                                                     Orlando, FL 32896



Northstar Bank                                Radiology Associates of North Texas    SYNCB/Sams Club
400 N. Carrol Blvd                            P.O.Box 1723                           7715090499148138
Denton, TX 76201                              Indianapolis, TN 46206-1723            P.O. Box 965005
                                                                                     Orlando, FL 32896
      Case 16-41005-elm13 Doc 32 Filed 06/07/16                    Entered 06/07/16 11:10:38         Page 15 of 15
                                       UNITED STATES BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF TEXAS
                                             FORT WORTH DIVISION

  IN RE: James Lee Bradberry                                                       CASE NO.   16-41005-RFN-13
                                     Debtor


          Tiffany Hare Bradberry                                                   CHAPTER    13
                                   Joint Debtor

                                                  CERTIFICATE OF SERVICE
                                                     (Continuation Sheet #3)

Tarrant County                                Union Standard                             Wise County
Linebarger Goggan Blair & Sampson,            10111285                                   C/O Melissa L Palo
LLP                                           P.O. Box 152180                            Linebarger Goggan Blair & Sampson,
2777 N. Stemmons Fwy, Ste 1000                Irving, TX 75015                           LLP
Dallas, TX 75207                                                                         2777 N Stemmons Freeway, Suite 1000
                                                                                         Dallas, TX 75207

TEX Door                                      United States Attorney - NORTH
14015399                                      3rd Floor, 1100 Commerce St.
11202 Bomar Lane                              Dallas, TX 75242
San Antonio, TX 78233



Texas Alcoholic Beverage Comm                 United States Attorney General
Licences and Permits Division                 Main Justice Building, Rm. 5111
P.O. Box 13127                                10th & Constitution Ave
Austin, TX 78711-3127                         NW Washington D.C. 20530



TEXAS EMPLOYMENT COMMISSION                   US Bank
TEC BUILDING-BANKRUPTCY                       4147-8085-6807-3615
101 E. 15TH STREET                            P.O. Box 790490
AUSTIN, TX 78778                              St. Louis, MO 63179-0490



Tim Truman                                    WB Carrell Memorial Clinic
Chapter 13 Trustee                            288311
6851 N.E. Loop 820, Suite 300                 9301 North centeral expy suite 400
North Richland Hills, TX 76180                Dallas, TX 75231



Town Planner                                  WF Crd Svc
210 Grapevine Hwy                             4705-0003-3112-8728
Hurst, TX 76054                               800 Walnut St
                                              Des Moines, IA 50309



Txtag                                         Wise CAD
P.O. Box 650749                               c/o Melissa L. Palo
Dallas, TX 75265-0749                         Linebarger Goggan Blair & Sampson,
                                              LLP
                                              2777 N Stemmons Frwy, Suite 1000
                                              Dallas, TX 75207
